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                     Exhibit A:

              Timeline of Events
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      Date                                            Event(s)
  July 15, 2010                KSP/True the Vote filed Form 1023 (39 total pages).
  January 2011                KSP/True the Vote sought hardship status to expedite
                                              501(c)3 determination.
February 15, 2011      IRS sent Information Request #1, including 11 inquiries, signed by
                                            Defendant Susan Maloney.
 March 7, 2011           KSP/True the Vote sent Response #1 to IRS Inquiry Letter #1
                                                  (13 total pages).
 March 8, 2011           KSP/True the Vote sent Response #2 to IRS Inquiry Letter #1
                                                  (11 total pages).
  May 16, 2011       KSP/True the Vote sent the IRS an earnest and personal plea to expedite
                    501(c)3 application, signed by Catherine Engelbrecht, and directed to the
                                       attention of Defendant Ronald Bell.
October 12, 2011      True the Vote’s counsel, Cleta Mitchell, telephoned Defendant Bell to
                              inquire about the status of True the Vote's application.
  Nov. 8, 2011       True the Vote sent a letter memorializing the phone call with Defendant
                            Bell along with additional information and legal precedent
                                                  (26 total pages).
February 8, 2012    IRS sent Information Request #2, including at least 119 distinct inquiries,
                                        signed by Defendant Janine Estes.
 March 20, 2012             True the Vote sent a Response to Information Request #2
                                                 (583 total pages).
 October 9, 2012         IRS sent Information Request #3, with 15 inquiries, signed by
                                                Defendant Faye Ng.
 Nov. 30, 2012              True the Vote sent a Response to Information Request #3
                                                 (105 total pages).




                                                                             Exhibit A, Page 1
